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                               *FILED UNDER SEAL*


                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,

        Plaintiffs,

 v.                                     Civil Action No. 4:20-cv-00957-SDJ

 GOOGLE LLC,

        Defendant.




                               EXHIBIT D
         PLAINTIFF STATES’ OPENING BRIEF TO THE SPECIAL MASTER
                     FOR THE MARCH 7, 2024 HEARING
